              Case 3:22-cv-05647-DGE Document 16 Filed 02/01/24 Page 1 of 2




 1

 2

 3

 4

 5

 6

 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 9

10
        DAWN MARIE KORTER et al,                             CASE NO. 3:22-cv-05647-DGE
11
                               Plaintiff,                    ORDER AFTER DISCOVERY
12              v.                                           DISPUTE (DKT. NO. 15) HEARING
13      CITY OF LAKEWOOD et al.,
14                             Defendant.

15

16          The following is a summary of the Court’s rulings on the parties’ discovery disputes

17   outlined in the January 25, 2024 Joint Status Report. (Dkt. No. 15.) For the reasons stated

18   during the January 31, 2024 hearing, the Court ORDERS as follows:

19          1. Defendant City of Lakewood shall confirm it has produced all Mr. Wiley’s mental

20              health records in its possession. Upon confirmation, it shall send Plaintiffs any

21              remaining records, if any, and certify it has completed a thorough search and

22              provided all relevant records.

23

24


     ORDER AFTER DISCOVERY DISPUTE (DKT. NO. 15) HEARING - 1
              Case 3:22-cv-05647-DGE Document 16 Filed 02/01/24 Page 2 of 2




 1          2. Plaintiffs may question non-peer counselor witnesses about Mr. Wiley’s mental

 2              health, subject to a protection order. This does not include conversations Mr. Wiley

 3              and Sgt. Mark Eakes had in Mr. Eakes’ capacity as a peer counselor. If the parties

 4              believe the current Protective Order (Dkt. No. 14) requires modification, the parties

 5              shall file a proposed protective order, with a red-lined copy of any changes from the

 6              Court’s model protective order, by February 12, 2024.

 7          3. Should Plaintiffs find it necessary, the Court authorizes them to file their motion to

 8              compel no later than February 12, 2024 1:

 9          Dated this 1st day of February 2024.

10


                                                            A
11

12                                                          David G. Estudillo
                                                            United States District Judge
13

14

15

16

17

18

19

20

21

22
     1
       The Court notes it indicated in the hearing that Plaintiff’s motion, if any, is due ten days from
23
     the discovery dispute hearing. Given that date falls on a Saturday, the Court extends the deadline
     to file until the following business day.
24


     ORDER AFTER DISCOVERY DISPUTE (DKT. NO. 15) HEARING - 2
